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                              Exhibit A-1
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                                                                             Deutsche Bank
                                                                             1761 East St. Andrew Place
                                                                             Santa Ana, CA 92705-4934

                                                                             Tel: 714-247-6000
                                                                             Fax: 714-247-6009


                                            January 12, 2012

        THIS TRANSMITTAL CONTAINS IMPORTANT INFORMATION THAT IS OF INTEREST
        TO THE BENEFICIAL OWNERS OF THE SUBJECT SECURITIES. IF APPLICABLE, ALL
        DEPOSITORIES, CUSTODIANS AND OTHER INTERMEDIARIES RECEIVING THIS
        NOTICE ARE REQUESTED TO EXPEDITE RE-TRANSMITTAL TO SUCH BENEFICIAL
        OWNERS IN A TIMELY MANNER.

                   IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                           BANKRUPTCY PROCEEDING OF
                         LEHMAN BROTHERS HOLDINGS INC.
                           AND ITS AFFILIATED DEBTORS
                           AND CERTAIN OTHER MATTERS

                   To the Certificateholders of IMPAC CMB TRUST SERIES 2005-4

                    (Classes and CUSIPs are listed on Schedule A attached hereto)

Re:     Impac CMB Trust Series 2005-4

Ladies and Gentlemen:

        Reference is made to that certain Indenture, dated as of May 6, 2005 (the “Transaction
Document”) between Impac CMB Trust Series 2005-4 as the issuer (the “Issuer”) and Deutsche Bank
National Trust Company, as indenture trustee (in such capacity, the “Trustee”). Capitalized terms used in
this notice and not defined in this notice shall have the meanings assigned to such terms in the
Transaction Document.

        I.      Factual Background

        1.      On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Special Financing, Inc., the counterparty (the “Derivative Counterparty”) under the
1992 ISDA Master Agreement with the Trustee on behalf of the Issuer dated as of May 6, 2005 (together
with any schedules or related documents, the “Derivative Contract”), filed a petition under Chapter 11 of
the Bankruptcy Code with the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”). LBHI, the Derivative Counterparty and other affiliates are collectively referred to
herein as the “Debtor.”

       2.     On October 3, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.

        3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
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(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, the Trustee filed on behalf of the Trust proofs of claim with
respect to certain claims related to the Derivative Contract against LBHI and the Derivative Counterparty
(the “Trust Claims”). On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty
Sixth Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to
which the Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The
Debtor has agreed to an extension of the Issuer’s time to respond to the Motion to Reclassify until
February 8, 2011.

        II.     Adversary Proceeding and Debtor’s Demand

         5.       On October 3, 2010, the Derivative Counterparty filed an action in the Bankruptcy Court
against the Issuer (the “Lehman Action”). A copy of the complaint may be found at www.pacer.gov or
by contacting the Bankruptcy Court. In the Lehman Action, the Derivative Counterparty seeks, among
other relief, a declaratory judgment that provisions in transaction documents that would modify payment
priorities to subordinate certain termination payments to the Derivative Counterparty constitute
unenforceable ipso facto clauses and that any action to enforce payment priorities that subordinate
payments to the Derivative Counterparty as a result of a bankruptcy filing violates the automatic stay
under the Bankruptcy Code.

         6.       By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contract. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contract
has matured pursuant to its terms, (ii) a payment is owed to the Derivative Counterparty as a result
thereof, (iii) if the Issuer does not pay all amounts alleged to be due to the Derivative Counterparty,
Derivative Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on
amounts alleged to be due to Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s
Demand also demanded that the Trustee, on behalf of the Issuer, agree to settle the Derivative Contract
and pay to Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes
interest as calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

         7.       The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty. In connection therewith, the Trustee references Section 6.01(f) of the Transaction
Document which provides that the Trustee need not expend or risk its own funds or otherwise incur
financial liability if it has reasonable grounds to believe that repayment of such funds or adequate
indemnity against such risk or liability is not reasonably assured to it. The Trustee reserves any and all
rights, remedies and protections it may have under the Transaction Document, any related documents, or
under applicable law.           Certificateholders may contact Melissa Rossiter by e-mail at
melissa.rossiter@db.com or by phone at 714-247-6342. Certificateholders may also contact Trustee’s
counsel Amanda D. Darwin, Esq., at Nixon Peabody LLP, by e-mail at adarwin@nixonpeabody.com or



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by phone at (617) 345-1042. This notice will also be made available on the Trustee’s Investor Reporting
Website at https://tss.sfs.db.com/investpublic/ under “Reports” for each Trust.

        The Trustee may conclude that a specific response to particular inquiries from individual
Certificateholders is not consistent with equal dissemination of information to all Certificateholders.
Please note that the Trustee does not by this Notice assume any obligation whatsoever to provide any
future notice to the Certificateholders. Certificateholders should not rely on the Trustee or this notice as
its sole source of information. The Trustee may in its sole discretion determine to inform
Certificateholders as developments are brought to its attention. The Trustee makes no recommendations
and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contract, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Issuer and the performance of its duties under the Transaction Document.


                                        DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                        as Trustee




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                                        through A-8 Pg 5 of 80



                                          SCHEDULE A



                             CLASS                              CUSIP1

                             1-A-1A                           45254NPA9
                             1-A-1B                           45254NPB7
                              1-A2                            45254NPC5
                             1-A-IO                           45254NPD3
                              1-B1                            45254NPQ4
                              1-B2                            45254NPR2
                              1-M1                            45254NPG6
                              1-M2                            45254NPH4
                              1-M3                             45254NPJ0
                              1-M4                            45254NPK7
                              1-M5                            45254NPL5
                              1-M6                            45254NPM3
                              2-A1                            45254NPE1
                              2-A2                            45254NPF8
                              2-B1                            45254NPS0
                              2-B2                            45254NPT8
                              2-M1                            45254NPN1
                              2-M2                            45254NPP6
                              CERT                            IM0504101




1
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Deutsche Bank National Trust Company assumes no responsibility for the selection or use of such numbers and
makes no representations as to the correctness of the CUSIP numbers appearing herein.
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                            through A-8 Pg 8 of 80
08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
                            through A-8 Pg 10 of 80
08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
                            through A-8 Pg 11 of 80




                              Exhibit A-2
08-13555-mg       Doc 30285-1        Filed 08/22/12 Entered 08/22/12 11:24:46               Exhibit A-1
                                     through A-8 Pg 12 of 80




                                                                             Deutsche Bank
                                                                             1761 East St. Andrew Place
                                                                             Santa Ana, CA 92705-4934

                                                                             Tel: 714-247-6000
                                                                             Fax: 714-247-6009


                                            January 12, 2012

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        TO THE BENEFICIAL OWNERS OF THE SUBJECT SECURITIES. IF APPLICABLE, ALL
        DEPOSITORIES, CUSTODIANS AND OTHER INTERMEDIARIES RECEIVING THIS
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        OWNERS IN A TIMELY MANNER.

                   IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                           BANKRUPTCY PROCEEDING OF
                         LEHMAN BROTHERS HOLDINGS INC.
                           AND ITS AFFILIATED DEBTORS
                           AND CERTAIN OTHER MATTERS

                  To the Certificateholders of IMPAC CMB TRUST SERIES 2004-10

                    (Classes and CUSIPs are listed on Schedule A attached hereto)

Re:     Impac CMB Trust Series 2004-10

Ladies and Gentlemen:

        Reference is made to that certain Indenture, dated as of November 24, 2004 (the “Transaction
Document”) between Impac CMB Trust Series 2004-10 as the issuer (the “Issuer”) and Deutsche Bank
National Trust Company, as indenture trustee (in such capacity, the “Trustee”). Capitalized terms used in
this notice and not defined in this notice shall have the meanings assigned to such terms in the
Transaction Document.

        I.      Factual Background

        1.      On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Derivative Products Inc., the counterparty (the “Derivative Counterparty”) under the
1992 ISDA Master Agreement with the Issuer dated as of November 24, 2004 (together with any
schedules or related documents, the “Derivative Contract”), filed a petition under Chapter 11 of the
Bankruptcy Code with the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”). LBHI, the Derivative Counterparty and other affiliates are collectively referred to
herein as the “Debtor.”

       2.     On October 5, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.

        3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
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(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, the Trustee filed on behalf of the Trust proofs of claim with
respect to certain claims related to the Derivative Contract against LBHI and the Derivative Counterparty
(the “Trust Claims”). On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty
Sixth Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to
which the Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The
Debtor has agreed to an extension of the Issuer’s time to respond to the Motion to Reclassify until
February 8, 2011.

        II.     Debtor’s Demand

         5.      By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contract. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contract
was terminated, (ii) a termination payment is owed to the Derivative Counterparty as a result thereof, (iii)
if the Issuer does not pay all amounts alleged to be due to the Derivative Counterparty, the Derivative
Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on amounts
alleged to be due to the Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s Demand
also demanded that the Trustee, on behalf of the Issuer, agree to settle the Derivative Contract and pay to
the Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes interest as
calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

          6.       The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty from funds held in the Payment Account prior to any distributions to Certificateholders. In
connection therewith, the Trustee references Section 6.01(f) of the Transaction Document which provides
that the Trustee need not expend or risk its own funds or otherwise incur financial liability if it has
reasonable grounds to believe that repayment of such funds or adequate indemnity against such risk or
liability is not reasonably assured to it. The Trustee reserves any and all rights, remedies and protections
it may have under the Transaction Document, any related documents, or under applicable law.
Certificateholders may contact Melissa Rossiter by e-mail at melissa.rossiter@db.com or by phone at
714-247-6342. Certificateholders may also contact Trustee’s counsel Amanda D. Darwin, Esq., at Nixon
Peabody LLP, by e-mail at adarwin@nixonpeabody.com or by phone at (617) 345-1042. This notice will
also be made available on the Trustee’s Investor Reporting Website at https://tss.sfs.db.com/investpublic/
under “Reports” for each Trust.

        The Trustee may conclude that a specific response to particular inquiries from individual
Certificateholders is not consistent with equal dissemination of information to all Certificateholders.
Please note that the Trustee does not by this Notice assume any obligation whatsoever to provide any
future notice to the Certificateholders. Certificateholders should not rely on the Trustee or this notice as
its sole source of information. The Trustee may in its sole discretion determine to inform
Certificateholders as developments are brought to its attention. The Trustee makes no recommendations


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08-13555-mg       Doc 30285-1        Filed 08/22/12 Entered 08/22/12 11:24:46               Exhibit A-1
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and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contract, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Issuer and the performance of its duties under the Transaction Document.


                                       DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                       as Trustee




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                                          SCHEDULE A

                               CLASS                             CUSIP1

                                1-A1                            45254NLJ4
                                1-A2                           45254NLK1
                                 2-A                           45254NLL9
                                3-A1                           45254NLM7
                                3-A2                           45254NLN5
                                3-M1                           45254NLR6
                                3-M2                           45254NLS4
                                3-M3                           45254NLT2
                                3-M4                           45254NLU9
                                3-M5                           45254NLV7
                                4-A1                           45254NLP0
                                4-A2                           45254NLQ8
                                 4-B                           45254NLY1
                                4-M1                           45254NLW5
                                4-M2                           45254NLX3
                                CERT                            IM0410101




1
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                            through A-8 Pg 18 of 80
08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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                              Exhibit A-3
08-13555-mg        Doc 30285-1       Filed 08/22/12 Entered 08/22/12 11:24:46                Exhibit A-1
                                     through A-8 Pg 22 of 80




                                                                              Deutsche Bank
                                                                              1761 East St. Andrew Place
                                                                              Santa Ana, CA 92705-4934

                                                                              Tel: 714-247-6000
                                                                              Fax: 714-247-6009


                                            January 12, 2012

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                    IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                            BANKRUPTCY PROCEEDING OF
                          LEHMAN BROTHERS HOLDINGS INC.
                            AND ITS AFFILIATED DEBTORS
                            AND CERTAIN OTHER MATTERS

                  To the Certificateholders of IMPAC CMB TRUST SERIES 2003-11

                    (Classes and CUSIPs are listed on Schedule A attached hereto)

Re:     Impac CMB Trust Series 2003-11

Ladies and Gentlemen:

        Reference is made to that certain Indenture, dated as of November 6, 2003 (the “Transaction
Document”) between Impac CMB Trust Series 2003-11 as the issuer (the “Issuer”) and Deutsche Bank
National Trust Company, as indenture trustee (in such capacity, the “Trustee”). Capitalized terms used in
this notice and not defined in this notice shall have the meanings assigned to such terms in the
Transaction Document.

        I.      Factual Background

         1.    On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Derivative Products Inc., the counterparty (the “Derivative Counterparty”) under the
1992 ISDA Master Agreement with the Issuer dated as of November 6, 2003 (together with any schedules
or related documents, the “Derivative Contract”), filed a petition under Chapter 11 of the Bankruptcy
Code with the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”). LBHI, the Derivative Counterparty and other affiliates are collectively referred to herein as the
“Debtor.”

       2.     On October 5, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.

        3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
08-13555-mg        Doc 30285-1        Filed 08/22/12 Entered 08/22/12 11:24:46                Exhibit A-1
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(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, the Trustee filed on behalf of the Trust proofs of claim with
respect to certain claims related to the Derivative Contract against LBHI and the Derivative Counterparty
(the “Trust Claims”). On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty
Sixth Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to
which the Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The
Debtor has agreed to an extension of the Issuer’s time to respond to the Motion to Reclassify until
February 8, 2011.

        II.     Debtor’s Demand

         5.      By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contract. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contract
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if the Issuer does not pay all amounts alleged to be due to the Derivative Counterparty, the Derivative
Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on amounts
alleged to be due to the Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s Demand
also demanded that the Trustee, on behalf of the Issuer, agree to settle the Derivative Contract and pay to
the Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes interest as
calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

          6.       The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty from funds held in the Payment Account prior to any distributions to Certificateholders. In
connection therewith, the Trustee references Section 6.01(f) of the Transaction Document which provides
that the Trustee need not expend or risk its own funds or otherwise incur financial liability if it has
reasonable grounds to believe that repayment of such funds or adequate indemnity against such risk or
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it may have under the Transaction Document, any related documents, or under applicable law.
Certificateholders may contact Melissa Rossiter by e-mail at melissa.rossiter@db.com or by phone at
714-247-6342. Certificateholders may also contact Trustee’s counsel Amanda D. Darwin, Esq., at Nixon
Peabody LLP, by e-mail at adarwin@nixonpeabody.com or by phone at (617) 345-1042. This notice will
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Certificateholders as developments are brought to its attention. The Trustee makes no recommendations


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and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contract, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Issuer and the performance of its duties under the Transaction Document.


                                       DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                       as Trustee




                                                  -3-
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                                          SCHEDULE A

                            CLASS                                CUSIP1

                             1-A1                             45254NFY8
                             1-A2                             45254NFZ5
                             1-M1                             45254NGB7
                             1-M2                             45254NGC5
                             1-M3                             45254NGD3
                             2-A1                             45254NGA9
                             2-B1                             45254NGG6
                             2-M1                             45254NGE1
                             2-M2                             45254NGF8
                             CERT                             IM0311101




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08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
                            through A-8 Pg 29 of 80
08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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                              Exhibit A-4
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                                                                             Deutsche Bank
                                                                             1761 East St. Andrew Place
                                                                             Santa Ana, CA 92705-4934

                                                                             Tel: 714-247-6000
                                                                             Fax: 714-247-6009


                                            January 12, 2012

        THIS TRANSMITTAL CONTAINS IMPORTANT INFORMATION THAT IS OF INTEREST
        TO THE BENEFICIAL OWNERS OF THE SUBJECT SECURITIES. IF APPLICABLE, ALL
        DEPOSITORIES, CUSTODIANS AND OTHER INTERMEDIARIES RECEIVING THIS
        NOTICE ARE REQUESTED TO EXPEDITE RE-TRANSMITTAL TO SUCH BENEFICIAL
        OWNERS IN A TIMELY MANNER.

                   IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                           BANKRUPTCY PROCEEDING OF
                         LEHMAN BROTHERS HOLDINGS INC.
                           AND ITS AFFILIATED DEBTORS
                           AND CERTAIN OTHER MATTERS

                   To the Certificateholders of IMPAC CMB TRUST SERIES 2004-8

                    (Classes and CUSIPs are listed on Schedule A attached hereto)

Re:     Impac CMB Trust Series 2004-8

Ladies and Gentlemen:

        Reference is made to that certain Indenture, dated as of September 29, 2004 (the “Transaction
Document”) between Impac CMB Trust Series 2004-8 as the issuer (the “Issuer”) and Deutsche Bank
National Trust Company, as indenture trustee (in such capacity, the “Trustee”). Capitalized terms used in
this notice and not defined in this notice shall have the meanings assigned to such terms in the
Transaction Document.

        I.      Factual Background

        1.      On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Derivative Products Inc., the counterparty (the “Derivative Counterparty”) under the
1992 ISDA Master Agreement with the Issuer dated as of September 29, 2004 (together with any
schedules or related documents, the “Derivative Contract”), filed a petition under Chapter 11 of the
Bankruptcy Code with the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”). LBHI, the Derivative Counterparty and other affiliates are collectively referred to
herein as the “Debtor.”

       2.     On October 5, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.

        3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
08-13555-mg        Doc 30285-1        Filed 08/22/12 Entered 08/22/12 11:24:46                Exhibit A-1
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(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, the Trustee filed on behalf of the Trust proofs of claim with
respect to certain claims related to the Derivative Contract against LBHI and the Derivative Counterparty
(the “Trust Claims)”. On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty
Sixth Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to
which the Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The
Debtor has agreed to an extension of the Issuer’s time to respond to the Motion to Reclassify until
February 8, 2011.

        II.     Debtor’s Demand

         5.      By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contract. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contract
was terminated, (ii) a termination payment is owed to the Derivative Counterparty as a result thereof, (iii)
if the Issuer does not pay all amounts alleged to be due to the Derivative Counterparty, the Derivative
Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on amounts
alleged to be due to the Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s Demand
also demanded that the Trustee, on behalf of the Issuer, agree to settle the Derivative Contract and pay to
the Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes interest as
calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

          6.       The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty from funds held in the Payment Account prior to any distributions to Certificateholders. In
connection therewith, the Trustee references Section 6.01(f) of the Transaction Document which provides
that the Trustee need not expend or risk its own funds or otherwise incur financial liability if it has
reasonable grounds to believe that repayment of such funds or adequate indemnity against such risk or
liability is not reasonably assured to it. The Trustee reserves any and all rights, remedies and protections
it may have under the Transaction Document, any related documents, or under applicable law.
Certificateholders may contact Melissa Rossiter by e-mail at melissa.rossiter@db.com or by phone at
714-247-6342. Certificateholders may also contact Trustee’s counsel Amanda D. Darwin, Esq., at Nixon
Peabody LLP, by e-mail at adarwin@nixonpeabody.com or by phone at (617) 345-1042. This notice will
also be made available on the Trustee’s Investor Reporting Website at https://tss.sfs.db.com/investpublic/
under “Reports” for each Trust.

        The Trustee may conclude that a specific response to particular inquiries from individual
Certificateholders is not consistent with equal dissemination of information to all Certificateholders.
Please note that the Trustee does not by this Notice assume any obligation whatsoever to provide any
future notice to the Certificateholders. Certificateholders should not rely on the Trustee or this notice as
its sole source of information. The Trustee may in its sole discretion determine to inform
Certificateholders as developments are brought to its attention. The Trustee makes no recommendations


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and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contract, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Issuer and the performance of its duties under the Transaction Document.


                                       DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                       as Trustee




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                                          SCHEDULE A

                               CLASS                          CUSIP1

                                 1-A                       45254NKQ9
                                2-A1                       45254NKR7
                                2-A2                       45254NKS5
                                 3-A                       45254NKT3
                                 3-B                       45254NKW6
                                3-M1                       45254NKU0
                                3-M2                       45254NKV8
                                CERT                        IM0408101




1
 The CUSIP numbers appearing herein have been included solely for the convenience of the Certificateholders.
Deutsche Bank National Trust Company assumes no responsibility for the selection or use of such numbers and
makes no representations as to the correctness of the CUSIP numbers appearing herein.
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08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
                            through A-8 Pg 38 of 80
08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
                            through A-8 Pg 39 of 80
08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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                              Exhibit A-5
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                                                                             Deutsche Bank
                                                                             1761 East St. Andrew Place
                                                                             Santa Ana, CA 92705-4934

                                                                             Tel: 714-247-6000
                                                                             Fax: 714-247-6009


                                            January 12, 2012

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        OWNERS IN A TIMELY MANNER.

                   IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                           BANKRUPTCY PROCEEDING OF
                         LEHMAN BROTHERS HOLDINGS INC.
                           AND ITS AFFILIATED DEBTORS
                           AND CERTAIN OTHER MATTERS

                   To the Certificateholders of IMPAC CMB TRUST SERIES 2005-8

                    (Classes and CUSIPs are listed on Schedule A attached hereto)


Re:     Impac CMB Trust Series 2005-8

Ladies and Gentlemen:

        Reference is made to that certain Indenture, dated as of November 30, 2005 (the “Transaction
Document”) between Impac CMB Trust Series 2005-8 as the issuer (the “Issuer”) and Deutsche Bank
National Trust Company, as indenture trustee (in such capacity, the “Trustee”). Capitalized terms used in
this notice and not defined in this notice shall have the meanings assigned to such terms in the
Transaction Document.

        I.      Factual Background

        1.      On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Special Financing, Inc., the counterparty (the “Derivative Counterparty”) under the
1992 ISDA Master Agreement with the Issuer dated as of November 30, 2005 (together with any
schedules or related documents, the “Derivative Contract”), filed a petition under Chapter 11 of the
Bankruptcy Code with the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”). LBHI, the Derivative Counterparty and other affiliates are collectively referred to
herein as the “Debtor.”

       2.     On October 3, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.
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         3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, the Trustee filed on behalf of the Trust proofs of claim with
respect to certain claims related to the Derivative Contract against LBHI and the Derivative Counterparty
(the “Trust Claims”). On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty
Sixth Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to
which the Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The
Debtor has agreed to an extension of the Issuer’s time to respond to the Motion to Reclassify until
February 8, 2011.

        II.     Adversary Proceeding and Debtor’s Demand

         5.       On October 3, 2010, the Derivative Counterparty filed an action in the Bankruptcy Court
against the Issuer (the “Lehman Action”). A copy of the complaint may be found at www.pacer.gov or
by contacting the Bankruptcy Court. In the Lehman Action, the Derivative Counterparty seeks, among
other relief, a declaratory judgment that provisions in transaction documents that would modify payment
priorities to subordinate certain termination payments to the Derivative Counterparty constitute
unenforceable ipso facto clauses and that any action to enforce payment priorities that subordinate
payments to the Derivative Counterparty as a result of a bankruptcy filing violates the automatic stay
under the Bankruptcy Code.

         6.       By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contract. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contract
has matured pursuant to its terms, (ii) a payment is owed to the Derivative Counterparty as a result
thereof, (iii) if the Issuer does not pay all amounts alleged to be due to the Derivative Counterparty,
Derivative Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on
amounts alleged to be due to Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s
Demand also demanded that the Trustee, on behalf of the Issuer, agree to settle the Derivative Contract
and pay to Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes
interest as calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

         7.       The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty. In connection therewith, the Trustee references Section 6.01(f) of the Transaction
Document which provides that the Trustee need not expend or risk its own funds or otherwise incur
financial liability if it has reasonable grounds to believe that repayment of such funds or adequate
indemnity against such risk or liability is not reasonably assured to it. The Trustee reserves any and all
rights, remedies and protections it may have under the Transaction Document, any related documents, or
under applicable law.           Certificateholders may contact Melissa Rossiter by e-mail at
melissa.rossiter@db.com or by phone at 714-247-6342. Certificateholders may also contact Trustee’s


                                                  -2-
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counsel Amanda D. Darwin, Esq., at Nixon Peabody LLP, by e-mail at adarwin@nixonpeabody.com or
by phone at (617) 345-1042. This notice will also be made available on the Trustee’s Investor Reporting
Website at https://tss.sfs.db.com/investpublic/ under “Reports” for each Trust.

        The Trustee may conclude that a specific response to particular inquiries from individual
Certificateholders is not consistent with equal dissemination of information to all Certificateholders.
Please note that the Trustee does not by this Notice assume any obligation whatsoever to provide any
future notice to the Certificateholders. Certificateholders should not rely on the Trustee or this notice as
its sole source of information. The Trustee may in its sole discretion determine to inform
Certificateholders as developments are brought to its attention. The Trustee makes no recommendations
and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contract, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Issuer and the performance of its duties under the Transaction Document.


                                        DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                        as Trustee




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                                          SCHEDULE A



                            CLASS                                  CUSIP1
                              1-A                               45254NRG4
                            1-A-IO                               45254NRJ8
                             1-AM                               45254NRH2
                              1-B                               45254NRS8
                             1-M1                               45254NRK5
                             1-M2                               45254NRL3
                             1-M3                               45254NRM1
                             1-M4                               45254NRN9
                             1-M5                               45254NRP4
                             1-M6                               45254NRQ2
                             1-M7                               45254NRR0
                              2-A                               45254NRT6
                             2-AM                               45254NRU3
                              2-B                               45254NRY5
                             2-M1                               45254NRV1
                             2-M2                               45254NRW9
                             2-M3                               45254NRX7
                            CERT                                 IM0508101




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08-13555-mg   Doc 30285-1   Filed 08/22/12 Entered 08/22/12 11:24:46   Exhibit A-1
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                              Exhibit A-6
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                                                                              Deutsche Bank
                                                                              1761 East St. Andrew Place
                                                                              Santa Ana, CA 92705-4934

                                                                              Tel: 714-247-6000
                                                                              Fax: 714-247-6009


                                            January 12, 2012

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        OWNERS IN A TIMELY MANNER.

                    IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                            BANKRUPTCY PROCEEDING OF
                          LEHMAN BROTHERS HOLDINGS INC.
                            AND ITS AFFILIATED DEBTORS
                            AND CERTAIN OTHER MATTERS

                   To the Certificateholders of IMPAC CMB TRUST SERIES 2004-5

                    (Classes and CUSIPs are listed on Schedule A attached hereto)

Re:     Impac CMB Trust Series 2004-5

Ladies and Gentlemen:

        Reference is made to that certain Indenture, dated as of May 28, 2004 (the “Transaction
Document”) between Impac CMB Trust Series 2004-5 as the issuer (the “Issuer”) and Deutsche Bank
National Trust Company, as indenture trustee (in such capacity, the “Trustee”). Capitalized terms used in
this notice and not defined in this notice shall have the meanings assigned to such terms in the
Transaction Document.

        I.      Factual Background

        1.     On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Derivative Products Inc., the counterparty (the “Derivative Counterparty”) under the
1992 ISDA Master Agreement with the Issuer dated as of May 28, 2004 (together with any schedules or
related documents, the “Derivative Contract”), filed a petition under Chapter 11 of the Bankruptcy Code
with the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”). LBHI, the Derivative Counterparty and other affiliates are collectively referred to herein as the
“Debtor.”

       2.     On October 5, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.

        3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
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(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, the Trustee filed on behalf of the Trust proofs of claim with
respect to certain claims related to the Derivative Contract against LBHI and the Derivative Counterparty
(the “Trust Claims”). On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty
Sixth Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to
which the Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The
Debtor has agreed to an extension of the Issuer’s time to respond to the Motion to Reclassify until
February 8, 2011.

        II.     Debtor’s Demand

         5.      By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contract. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contract
was terminated, (ii) a termination payment is owed to the Derivative Counterparty as a result thereof, (iii)
if the Issuer does not pay all amounts alleged to be due to the Derivative Counterparty, the Derivative
Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on amounts
alleged to be due to the Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s Demand
also demanded that the Trustee, on behalf of the Issuer, agree to settle the Derivative Contract and pay to
the Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes interest as
calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

          6.       The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty from funds held in the Payment Account prior to any distributions to Certificateholders. In
connection therewith, the Trustee references Section 6.01(f) of the Transaction Document which provides
that the Trustee need not expend or risk its own funds or otherwise incur financial liability if it has
reasonable grounds to believe that repayment of such funds or adequate indemnity against such risk or
liability is not reasonably assured to it. The Trustee reserves any and all rights, remedies and protections
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Certificateholders may contact Melissa Rossiter by e-mail at melissa.rossiter@db.com or by phone at
714-247-6342. Certificateholders may also contact Trustee’s counsel Amanda D. Darwin, Esq., at Nixon
Peabody LLP, by e-mail at adarwin@nixonpeabody.com or by phone at (617) 345-1042. This notice will
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Certificateholders as developments are brought to its attention. The Trustee makes no recommendations


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and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contract, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Issuer and the performance of its duties under the Transaction Document.


                                       DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                       as Trustee




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                                          SCHEDULE A

                             CLASS                                 CUSIP1

                              1-A1                               45254NJG3
                              1-A2                               45254NJH1
                              1-A3                                45254NJJ7
                              1-M1                               45254NJK4
                              1-M2                               45254NJL2
                              1-M3                               45254NJM0
                              1-M4                               45254NJN8
                              1-M5                               45254NJP3
                              1-M6                               45254NJQ1
                               2-A                               45254NJR9
                               2-B                               45254NJU2
                              2-M1                               45254NJS7
                              2-M2                               45254NJT5
                              CERT                               IM0405101




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                              Exhibit A-7
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                                                                              Deutsche Bank
                                                                              1761 East St. Andrew Place
                                                                              Santa Ana, CA 92705-4934

                                                                              Tel: 714-247-6000
                                                                              Fax: 714-247-6009


                                            January 12, 2012

        THIS TRANSMITTAL CONTAINS IMPORTANT INFORMATION THAT IS OF INTEREST
        TO THE BENEFICIAL OWNERS OF THE SUBJECT SECURITIES. IF APPLICABLE, ALL
        DEPOSITORIES, CUSTODIANS AND OTHER INTERMEDIARIES RECEIVING THIS
        NOTICE ARE REQUESTED TO EXPEDITE RE-TRANSMITTAL TO SUCH BENEFICIAL
        OWNERS IN A TIMELY MANNER.

                    IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                            BANKRUPTCY PROCEEDING OF
                          LEHMAN BROTHERS HOLDINGS INC.
                            AND ITS AFFILIATED DEBTORS
                            AND CERTAIN OTHER MATTERS

                   To the Certificateholders of IMPAC CMB TRUST SERIES 2005-5

                    (Classes and CUSIPs are listed on Schedule A attached hereto)

Re:     Impac CMB Trust Series 2005-5

Ladies and Gentlemen:

        Reference is made to that certain Indenture, dated as of June 30, 2005 (the “Transaction
Document”) between Impac CMB Trust Series 2005-5 as the issuer (the “Issuer”) and Deutsche Bank
National Trust Company, as indenture trustee (in such capacity, the “Trustee”). Capitalized terms used in
this notice and not defined in this notice shall have the meanings assigned to such terms in the
Transaction Document.

        I.      Factual Background

        1.     On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Special Financing, Inc., the counterparty (the “Derivative Counterparty”) under the
1992 ISDA Master Agreement with the Issuer dated as of June 30, 2005 (together with any schedules or
related documents, the “Derivative Contract”), filed a petition under Chapter 11 of the Bankruptcy Code
with the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”). LBHI, the Derivative Counterparty and other affiliates are collectively referred to herein as the
“Debtor.”

       2.     On October 3, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.

        3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
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(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, the Trustee filed on behalf of the Trust proofs of claim with
respect to certain claims related to the Derivative Contract against LBHI and the Derivative Counterparty
(the “Trust Claims”). On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty
Sixth Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to
which the Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The
Debtor has agreed to an extension of the Issuer’s time to respond to the Motion to Reclassify until
February 8, 2011.

        II.     Adversary Proceeding and Debtor’s Demand

         5.       On October 3, 2010, the Derivative Counterparty filed an action in the Bankruptcy Court
against the Issuer (the “Lehman Action”). A copy of the complaint may be found at www.pacer.gov or
by contacting the Bankruptcy Court. In the Lehman Action, the Derivative Counterparty seeks, among
other relief, a declaratory judgment that provisions in transaction documents that would modify payment
priorities to subordinate certain termination payments to the Derivative Counterparty constitute
unenforceable ipso facto clauses and that any action to enforce payment priorities that subordinate
payments to the Derivative Counterparty as a result of a bankruptcy filing violates the automatic stay
under the Bankruptcy Code.

         6.       By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contract. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contract
has matured pursuant to its terms, (ii) a payment is owed to the Derivative Counterparty as a result
thereof, (iii) if the Issuer does not pay all amounts alleged to be due to the Derivative Counterparty,
Derivative Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on
amounts alleged to be due to Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s
Demand also demanded that the Trustee, on behalf of the Issuer, agree to settle the Derivative Contract
and pay to Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes
interest as calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

         7.       The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty. In connection therewith, the Trustee references Section 6.01(f) of the Transaction
Document which provides that the Trustee need not expend or risk its own funds or otherwise incur
financial liability if it has reasonable grounds to believe that repayment of such funds or adequate
indemnity against such risk or liability is not reasonably assured to it. The Trustee reserves any and all
rights, remedies and protections it may have under the Transaction Document, any related documents, or
under applicable law.           Certificateholders may contact Melissa Rossiter by e-mail at
melissa.rossiter@db.com or by phone at 714-247-6342. Certificateholders may also contact Trustee’s
counsel Amanda D. Darwin, Esq., at Nixon Peabody LLP, by e-mail at adarwin@nixonpeabody.com or



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by phone at (617) 345-1042. This notice will also be made available on the Trustee’s Investor Reporting
Website at https://tss.sfs.db.com/investpublic/ under “Reports” for each Trust.

        The Trustee may conclude that a specific response to particular inquiries from individual
Certificateholders is not consistent with equal dissemination of information to all Certificateholders.
Please note that the Trustee does not by this Notice assume any obligation whatsoever to provide any
future notice to the Certificateholders. Certificateholders should not rely on the Trustee or this notice as
its sole source of information. The Trustee may in its sole discretion determine to inform
Certificateholders as developments are brought to its attention. The Trustee makes no recommendations
and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contract, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Issuer and the performance of its duties under the Transaction Document.


                                        DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                        as Trustee




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                                          SCHEDULE A

                                CLASS                          CUSIP1

                                  A-1                       45254NPU5
                                  A-2                       45254NPV3
                                 A-3W                       45254NPW1
                                  A-4                       45254NQF7
                                 A-IO                       45254NPX9
                                   B                        45254NQE0
                                  M1                        45254NPY7
                                  M2                        45254NPZ4
                                  M3                        45254NQA8
                                  M4                        45254NQB6
                                  M5                        45254NQC4
                                  M6                        45254NQD2
                                 CERT                       IM0505101




1
 The CUSIP numbers appearing herein have been included solely for the convenience of the Certificateholders.
Deutsche Bank National Trust Company assumes no responsibility for the selection or use of such numbers and
makes no representations as to the correctness of the CUSIP numbers appearing herein.
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                              Exhibit A-8
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                                                                             Deutsche Bank
                                                                             1761 East St. Andrew Place
                                                                             Santa Ana, CA 92705-4934

                                                                             Tel: 714-247-6000
                                                                             Fax: 714-247-6009


                                            January 12, 2012

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        OWNERS IN A TIMELY MANNER.

                   IMPORTANT NOTICE OF RECENT DEVELOPMENTS IN
                           BANKRUPTCY PROCEEDING OF
                         LEHMAN BROTHERS HOLDINGS INC.
                           AND ITS AFFILIATED DEBTORS
                           AND CERTAIN OTHER MATTERS

                                  To the Certificateholders of
                      FIRST FRANKLIN MORTGAGE LOAN TRUST 2006-FF8

                    (Classes and CUSIPs are listed on Schedule A attached hereto)

Re:     First Franklin Mortgage Loan Trust 2006-FF8

Ladies and Gentlemen:

        Reference is made to that certain Pooling and Servicing Agreement, dated as of June 1, 2006 (the
“Transaction Document”) among Financial Asset Securities Corp, as depositor (the “Depositor”),
National City Home Loan Services, Inc., as servicer (the “Servicer”) and Deutsche Bank National Trust
Company, as trustee (the “Trustee”) and supplemental interest trust trustee (the “Supplemental Interest
Trust Trustee”) with respect to the First Franklin Mortgage Loan Trust 2006-FF8 (the “Trust”).
Capitalized terms used in this notice and not defined in this notice shall have the meanings assigned to
such terms in the Transaction Document.

        I.      Factual Background

         1.     On September 15, 2008, Lehman Brothers Holdings Inc. (“LBHI”), an affiliate of
Lehman Brothers Special Financing, Inc., the counterparty (the “Derivative Counterparty”) under that
certain (x) 1992 ISDA Master Agreement with the Trustee with respect to the supplemental interest trust
(the “Supplemental Interest Trust”) relating to the First Franklin Mortgage Loan Trust 2006-FF8, Asset
Backed Certificates, Series 2006-FF8 dated as of June 29, 2006 (together with any schedules or related
documents, the “Trustee Derivative Contract”) and (y) 1992 ISDA Master Agreement with the
Supplemental Interest Trust Trustee with respect to the Supplemental Interest Trust relating to the First
Franklin Mortgage Loan Trust 2006-FF8, Asset Backed Certificates, Series 2006-FF8 dated as of June 29,
2006 (together with any schedules or related documents, the “SIT Derivative Contract”), filed a petition
under Chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the Southern
District of New York (the “Bankruptcy Court”). LBHI, the Derivative Counterparty and other affiliates
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are collectively referred to herein as the “Debtor.” The Trustee Derivative Contract and the SIT
Derivative Contract are together, the “Derivative Contracts.”

       2.     On October 3, 2008, the Derivative Counterparty filed a petition under Chapter 11 of the
Bankruptcy Code with the Bankruptcy Court.

         3.      On September 1, 2011, the Bankruptcy Court entered an amended order approving the
Disclosure Statement (the “Disclosure Statement”) for Third Amended Joint Chapter 11 Plan of LBHI
(the “Plan”). On December 6, 2011, Honorable James M. Peck of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of New York confirmed the Plan. Copies of the Plan and the
related Disclosure Statement, as well as other filings made in the Bankruptcy Court, may be obtained at
http://chapter11.epiqsystems.com.

         4.      On September 18, 2009, each of the Trustee and Supplemental Interest Trust Trustee
filed on behalf of the Trust proofs of claim with respect to certain claims related to the Trustee Derivative
Contract and SIT Derivative Contract, respectively, against LBHI and the Derivative Counterparty (the
“Trust Claims”). On September 9, 2011, the Debtor filed the Debtors’ One Hundred and Eighty Sixth
Omnibus Objection to Claims (Misclassified Claims) (the “Motion to Reclassify”) pursuant to which the
Debtor sought to reclassify the Trust Claims from secured claims to unsecured claims. The Debtor has
agreed to an extension of the Trust’s time to respond to the Motion to Reclassify until February 8, 2011.

        II.     Adversary Proceeding and Debtor’s Demand

         5.      On October 3, 2010, the Derivative Counterparty filed an action in the Bankruptcy Court
against the Trust (the “Lehman Action”). A copy of the complaint may be found at www.pacer.gov or by
contacting the Bankruptcy Court. In the Lehman Action, the Derivative Counterparty seeks, among other
relief, a declaratory judgment that provisions in transaction documents that would modify payment
priorities to subordinate certain termination payments to the Derivative Counterparty constitute
unenforceable ipso facto clauses and that any action to enforce payment priorities that subordinate
payments to the Derivative Counterparty as a result of a bankruptcy filing violates the automatic stay
under the Bankruptcy Code.

         6.       By letter dated October 6, 2011 through its counsel, the Derivative Counterparty has
made demand (the “Debtor’s Demand”) for payment for amounts allegedly owed under the Derivative
Contracts. Among other things, the Derivative Counterparty has asserted that (i) the Derivative Contracts
have matured pursuant to its terms, (ii) a payment is owed to the Derivative Counterparty as a result
thereof, (iii) if the Trust does not pay all amounts alleged to be due to the Derivative Counterparty,
Derivative Counterparty will take appropriate action in the Bankruptcy Court and (iv) interest accrues on
amounts alleged to be due to Derivative Counterparty at the rate of LIBOR plus 13.5%. The Debtor’s
Demand also demanded that the Trustee, on behalf of the Trust, agree to settle the Derivative Contracts
and pay to Derivative Counterparty amounts enumerated in Debtor’s Demand (which amount includes
interest as calculated by the Debtors). A copy of the Debtor’s Demand is attached hereto as Exhibit A.

        III.    Request for Input and Direction and Indemnity

        7.      The Trustee asks that the Certificateholders contact the Trustee regarding the Debtor’s
Demand on or before February 10, 2012, and, if appropriate, requests direction (with the requisite
indemnity) regarding any response the Certificateholders may formulate with the Trustee. In the absence
of direction from the requisite Certificateholders, the Trustee, in consultation with counsel, may take
action as it deems appropriate, including, without limitation, making payment to the Derivative
Counterparty. In connection therewith, the Trustee references Section 8.01of the Transaction Document


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which provides that the Trustee need not expend or risk its own funds or otherwise incur financial liability
if it has reasonable grounds to believe that repayment of such funds or adequate indemnity against such
risk or liability is not reasonably assured to it. The Trustee reserves any and all rights, remedies and
protections it may have under the Transaction Document, any related documents, or under applicable law.
Certificateholders may contact Melissa Rossiter by e-mail at melissa.rossiter@db.com or by phone at
714-247-6342. Certificateholders may also contact Trustee’s counsel Amanda D. Darwin, Esq., at Nixon
Peabody LLP, by e-mail at adarwin@nixonpeabody.com or by phone at (617) 345-1042. This notice will
also be made available on the Trustee’s Investor Reporting Website at https://tss.sfs.db.com/investpublic/
under “Reports” for each Trust.

        The Trustee may conclude that a specific response to particular inquiries from individual
Certificateholders is not consistent with equal dissemination of information to all Certificateholders.
Please note that the Trustee does not by this Notice assume any obligation whatsoever to provide any
future notice to the Certificateholders. Certificateholders should not rely on the Trustee or this notice as
its sole source of information. The Trustee may in its sole discretion determine to inform
Certificateholders as developments are brought to its attention. The Trustee makes no recommendations
and gives no legal or investment advice. Certificateholders should seek their own legal advice concerning
these matters. The Trustee has incurred and expects to continue to incur fees and expenses in connection
with the termination of the Derivative Contracts, and Certificateholders are reminded that amounts owing
to the Trustee may include, but are not limited to, expenses incurred by it in connection with the
administration of the Trust and the performance of its duties under the Transaction Document.


                                         DEUTSCHE BANK NATIONAL TRUST COMPANY,
                                         as Trustee




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                                            SCHEDULE A

                                CLASS                            CUSIP1
                                  I-A-1                        320278AR5
                                 II-A-1                        320278AA2
                                 II-A-2                        320278AB0
                                 II-A-3                        320278AC8
                                 II-A-4                        320278AD6
                                   M-1                         320278AE4
                                   M-2                         320278AF1
                                   M-3                         320278AG9
                                   M-4                         320278AH7
                                   M-5                          320278AJ3
                                   M-6                         320278AK0
                                   M-7                         320278AL8
                                   M-8                         320278AM6
                                   M-9                         320278AN4
                                  M-10                         320278AP9
                                  M-11                         320278AQ7
                                  M-12                         320278AS3
                                    C                              N/A
                                    P                              N/A
                                    R                              N/A
                                   R-X                             N/A




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